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   12                        UNITED STATES DISTRICT COURT
   13                      CENTRAL DISTRICT OF CALIFORNIA
   14

   15   IN RE: NATIONAL FOOTBALL                 Case No.: 2:15-ml-02668−PSG (JEMx)
        LEAGUE’S “SUNDAY TICKET”
   16   ANTITRUST LITIGATION
   17

   18   THIS DOCUMENT RELATES TO ALL             STIPULATION REGARDING
        ACTIONS                                  MODIFICATIONS TO
   19                                            SCHEDULING ORDER
   20
                                                 Judge: Hon. Philip S. Gutierrez
   21
                                                 Trial Date: 2/22/2024
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    1         WHEREAS, on August 19, 2022, Plaintiffs filed a motion for certification of
    2   a Commercial Class and a Residential Class pursuant to Rule 23 of the Federal
    3   Rules of Civil Procedure (Dkt. 628), along with supporting expert declarations;
    4         WHEREAS, all additional briefing on this motion and any motions to
    5   exclude potential experts is scheduled to be completed on December 30, 2022;
    6         WHEREAS, prior to November 15, 2022, the hearing on Plaintiffs’ class
    7   certification motion and affiliated motions to exclude the parties’ experts was
    8   scheduled for January 13, 2023 (Dkt. 652);
    9         WHEREAS, the schedule for this case contemplated a period of two weeks
   10   after the class certification hearing prior to serving initial merits expert reports;
   11         WHEREAS, on November 15, 2022, the Court, on its own motion, continued
   12   the class certification and Daubert motion hearing by two weeks to January 27,
   13   2023 (Dkt. No. 693);
   14         WHEREAS, the parties agree that a modest extension of the merits expert
   15   discovery and summary judgment briefing deadlines is appropriate;
   16         WHEREAS, the parties’ proposed changes to the schedule do not affect the
   17   timing for the summary judgment hearing or any subsequent deadlines already set
   18   by the Court;
   19         WHEREAS, in light of the parties’ agreement to modify the deadlines for
   20   merits expert discovery, the parties agree that Plaintiffs may supplement their
   21   opening merits experts reports if documents related to ECF 645 are produced after
   22   January 13, 2023, rather than December 30, 2022 as previously reflected in Dkt.
   23   No. 649;
   24      NOW, therefore, the parties hereby stipulate, subject to the Court’s approval, to
   25   the schedule set forth below:
   26

   27                          Event                             Current          Proposed
   28   Plaintiffs’ Reply Brief on Class Certification         12/2/22          No change

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    1   Plaintiffs’ Opposition to NFL Daubert Motions       12/2/22        No change
    2   Plaintiffs’ Daubert Motions                         12/2/22        No change
    3
        NFL Reply Briefs on Daubert Motions                 12/16/22       No change
    4
        NFL Opposition to Plaintiffs’ Daubert Motions       12/16/22       No change
    5

    6   Plaintiffs’ Reply Briefs on Daubert Motions         12/30/22       No change
    7   Hearing on Class Certification and Daubert          1/27/23        No change
        Motions
    8
        Plaintiffs Serve Opening Merits Expert Reports      1/27/23        2/10/23
    9
        Deadline for NFL to Serve Responsive Merits         4/7/23         4/21/23
   10   Expert Reports
        Plaintiffs to Serve Rebuttal Merits Expert          5/19/23        6/2/23
   11   Reports
   12   Close of Expert Discovery                           6/9/23         6/23/23
   13
        Summary Judgment Motions                            7/21/23        7/28/23
   14
        Summary Judgment Oppositions                        8/21/23        8/28/23
   15

   16   Summary Judgment Reply Briefs                       9/22/23        9/29/23

   17   Summary Judgment Hearing Date                       10/27/23       No change
   18
        Final Pretrial Conference                           2/9/24         No change
   19
        Trial                                               2/22/24        No change
   20

   21

   22      Dated: November 30, 2022          Respectfully submitted,
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   24
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   26

   27
        All signatories listed, and on whose behalf the filing is submitted, concur in the
   28   filing’s content and have authorized the filing.


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